            Case 1:18-cv-02684-KHP Document 42 Filed 11/16/18 Page 1 of 6



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MICHAEL KORS, L.L.C., a Delaware
Limited Liability Corporation,

                       Plaintiff,

       v.                                          CIVIL ACTION NO. 1:18-CV-2684-KHP

SU YAN YE, an individual; and DOES 1-10,
inclusive,

                       Defendants.


                   STIPULATED MOTION FOR PROTECTIVE ORDER

       WHEREAS, the Parties having agreed to the following terms of confidentiality, and the
Court having found that good cause exists for the issuance of an appropriately tailored
confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

       ORDERED that the following restrictions and procedures shall apply to the information
and documents exchanged by the parties in connection with the pre-trial phase of this action:

   1. Counsel for any party may designate any document or information, in whole or in part, as
      confidential if counsel determines, in good faith, that such designation is necessary to
      protect the interests of the client in information that is proprietary, a trade secret or
      otherwise sensitive non-public information. Information and documents designated by a
      party as confidential will be stamped as either “CONFIDENTIAL” or “ATTORNEYS’
      EYES ONLY” or, if such a stamp is not possible, designated in a reasonable manner or
      method that notifies the receiving party of the designation level and identifies with
      specificity the information to which the designation applies.

   2. The Confidential Information disclosed will be held and used by the person receiving
      such information solely for use in connection with the action. Any copies of such
      Confidential Information, abstracts, summaries or information derived therefrom, and any
      notes or other records regarding the contents thereof, shall also be deemed
      “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” in keeping with the producing
      party’s designation.

   3. In the event a party challenges another party’s designation of confidentiality, counsel
      shall make a good faith effort to resolve the dispute, and in the absence of a resolution,
      the challenging party may seek resolution by the Court. The party challenging the
      designation shall treat the information as being properly designated hereunder until the
      Court rules otherwise or the parties agree to change the designation. Nothing in this
      Case 1:18-cv-02684-KHP Document 42 Filed 11/16/18 Page 2 of 6



   Protective Order constitutes an admission by any party that Confidential Information
   disclosed in this case is relevant or admissible. Each party reserves the right to object to
   the use or admissibility of the Confidential Information.

4. Documents designated as “CONFIDENTIAL” shall not be disclosed to any person,
   except:

       a. Counsel employed by any party to assist in the action and their respective
          employees who are assisting in this action;

       b. Officers, directors, and employees of the receiving party to whom disclosure is
          reasonably necessary for purposes of assisting in this action;

       c. Outside vendors who perform microfilming, photocopying, computer
          classification, professional jury or trial consultants, trial support personnel,
          litigation support services, or similar functions, but only to the extent necessary
          for the vendor to perform those services;

       d. Consultants or experts assisting in the prosecution or defense of the matter, to the
          extent deemed necessary by counsel, subject to the provisions of Paragraph 6 of
          this Order;

       e. The Court (including the mediator and stenographic reporters present at
          depositions or at trial, or other person having access to any Confidential
          Information by virtue of his or her position with the Court);

       f. Trial or deposition witnesses, in accordance with paragraphs 6 through 9 of this
          Order; and

       g. Other persons with the parties’ consent or by Court order.

5. The parties recognize that there may be certain sensitive confidential, financial, business
   and/or proprietary documents and information, the disclosure of which to certain
   categories of persons listed in Paragraph 4 may compromise and/or jeopardize the
   disclosing party’s interests. Such material may be marked “ATTORNEYS’ EYES
   ONLY”, and shall not be disclosed except to the persons identified in (a), (c), (d), (e), (f)
   and (g) in Paragraph 4 unless otherwise agreed by the parties or ordered by the Court.

6. In the event that counsel for a receiving party proposes to disclose Confidential
   Information to any independent consultant or expert retained for purposes of this
   litigation, such consultant or expert must first execute a copy of the Agreement attached
   hereto as Exhibit A. Counsel shall retain a signed copy of each signed Exhibit A, and
   produce it to opposing counsel either prior to such person being permitted to testify (at
   deposition or trial) or at the conclusion of the case, whichever comes first. An Exhibit A
   signed by an expert or consultant who is not expected to be called as a witness at trial is
   not required to be supplied to opposing counsel.
      Case 1:18-cv-02684-KHP Document 42 Filed 11/16/18 Page 3 of 6



7. Counsel for the party obtaining the signed form attached as Exhibit A from any trial
   witness or deponent shall supply a copy to counsel for the other parties and, as
   appropriate, a non-party that is a producing party. In the event that, upon being presented
   with a copy of this Order and Exhibit A, a witness refuses to execute the agreement to be
   bound by this Order, the Court shall, upon application, enter an order directing the
   witness’s compliance with the Order.

8. The subject matter of all depositions given in connection with this action and the original
   and all copies of the transcripts of any such depositions shall be deemed to be
   “ATTORNEYS’ EYES ONLY” for a period ending 30 days after the transcript is
   received by counsel. On or before the 30th day after any deposition transcript is received
   by counsel, such transcript may be designated and marked, in whole or in part,
   “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by counsel for the disclosing
   party, and the portions of the transcript of the deposition so marked shall be subject to the
   provisions of this Order. Such designation may be made by any of the following means:

       a. stating orally on the record, with reasonable precision as to the affected testimony,
          during the taking of the deposition, that the information is “CONFIDENTIAL” or
          “ATTORNEYS’ EYES ONLY”, in which case the court reporter shall mark each
          page so designated accordingly;

       b. sending written notice to all other parties, designating, by page and line, the
          portions of the transcript to be treated as “CONFIDENTIAL” or “ATTORNEYS’
          EYES ONLY”, whereupon the parties shall attach a copy of such written
          designation to the face of the transcript and each copy thereof in the party’s
          possession, custody, or control.

9. Should the need arise for any party or, as appropriate, non-party, to disclose Confidential
   Information during any hearing or trial before the Court, including through argument or
   the presentation of evidence, such party or, as appropriate, non-party may do so only after
   taking such steps as the Court shall deem necessary to preserve the confidentiality of such
   Confidential Information . Prior to filing any pleadings, responses to requests for
   discovery, motions or other documents with the Court that disclose any information
   designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”, the information
   shall be designated appropriately under this Order and the filing party shall file the
   documents under seal or in redacted form. The party that designated the material as
   “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” bears the burden of supporting
   such designation to the Court in any request to or by the Court concerning whether such
   material should be filed under seal or in redacted form.

10. Any person receiving Confidential Information shall not reveal or discuss such
    information to or with any person not entitled to receive such information under the terms
    hereof and shall use reasonable measures to store and maintain the Confidential
    Information so as to prevent unauthorized disclosure.

11. The disclosure of a document or information without designating it as confidential shall
    not constitute a waiver of the right to designate such document or information as
      Case 1:18-cv-02684-KHP Document 42 Filed 11/16/18 Page 4 of 6



   Confidential Information. If so designated, the document or information shall thenceforth
   be treated as Confidential Information subject to all the terms of this Stipulation and
   Order.

12. Any Personally Identifying Information (“PII”) (e.g., social security numbers, financial
    account numbers, passwords, and information that may be used for identity theft)
    exchanged in discovery shall be maintained by the receiving party in a manner that is
    secure and confidential and shared only with authorized individuals in a secure manner.
    The producing party may specify the minimal level of protection expected in the storage
    and transfer of its information. In the event the party who received PII experiences a data
    breach, it shall immediately notify the producing party of same and cooperate with the
    producing party to address and remedy the breach. Nothing herein shall preclude the
    producing party from asserting legal claims or constitute a waiver of legal rights and
    defenses in the event of litigation arising out of the receiving party’s failure to
    appropriately protect PII from unauthorized disclosure.

13. Pursuant to Federal Rule of Evidence 502, the production of privileged or work-product
    protected documents or communications, electronically stored information (“ESI”) or
    information, whether inadvertent or otherwise, shall not constitute a waiver of the
    privilege or protection from discovery in this case or in any other federal or state
    proceeding. This Order shall be interpreted to provide the maximum protection allowed
    by Federal Rule of Evidence 502(d). Nothing contained herein is intended to or shall
    serve to limit a party’s right to conduct a review of documents, ESI or information
    (including metadata) for relevance, responsiveness and/or segregation of privileged
    and/or protected information before production.

14. Inadvertent production of any material which a party or non-party later claims should not
    have been produced because of privilege (“Inadvertently Produced Privileged Material”)
    will not be deemed to waive any privilege. A party or non-party may request the return of
    any Inadvertently Produced Privileged Material. A request for the return of Inadvertently
    Produced Privileged Material shall identify the material inadvertently produced and the
    basis for withholding such material from production. If a party or non-party requests the
    return or destruction, pursuant to this paragraph, of any Inadvertently Produced
    Privileged Material then in the custody of another party or non-party, the possessing party
    shall within ten days return to the requesting party or non-party the Inadvertently
    Produced Privileged Material and all copies thereof and shall expunge from any other
    document or material information derived from the Inadvertently Produced Privileged
    Material, unless such party files with the Court a challenge to the claim of privilege. Said
    party shall not assert as a ground for entering an order compelling production of the
    material the fact or circumstances of the inadvertent production. Notwithstanding the
    designation of information as confidential in discovery, there is no presumption that such
    information shall be filed with the Court under seal. The parties shall follow the Court’s
    procedures with respect to filing under seal.

15. If a party is served with a subpoena or an order that would compel disclosure of any
    Confidential Information, such party shall notify the designating party as soon as
    reasonably possible. If the designating party timely seeks a protective order and gives the
           Case 1:18-cv-02684-KHP Document 42 Filed 11/16/18 Page 5 of 6



         party served with the subpoena or court order notice of the same, the party served with
         the subpoena or order shall not produce any such Confidential Information before a
         determination is rendered by the applicable tribunal.

   16. The confidentiality obligations imposed by this Order shall remain in effect after the final
       disposition of this action until a producing party agrees otherwise in writing or a Court
       order otherwise directs.

   17. At the conclusion of litigation, Confidential Information and any copies thereof shall be
       promptly (and in no event later than 30 days after entry of final judgment no longer
       subject to further appeal) returned to the producing party by the receiving party or
       certified by the receiving party as destroyed, except that the parties’ counsel shall be
       permitted to retain their working files on the condition that those files will remain
       protected.



SO STIPULATED AND AGREED.

Counsel for the Parties:


_/s/ Jessica C. Covington______                    __/s/ Eric J. Shimanoff_______
Brent H. Blakely (BB 1966)                         Eric J. Shimanoff
Jessica C. Covington (pro hac vice)                Cowan, Liebowitz & Latman, P.C.
BLAKELY LAW GROUP                                  114 West 47th Street
1334 Parkview Avenue, Suite 280                    New York, New York 10036
Manhattan Beach, CA 90266                          Telephone: (212) 790-9200
Telephone: (310) 546-7400                          Attorneys for Defendant Su Yan Ye
Attorneys for Plaintiff
Michael Kors, L.L.C.



SO ORDERED.


Dated:     ____________________
           New York, New York                                Hon. Katharine H. Parker
                                                           United States Magistrate Judge
              Case 1:18-cv-02684-KHP Document 42 Filed 11/16/18 Page 6 of 6



                                           EXHIBIT A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MICHAEL KORS, L.L.C., a Delaware
Limited Liability Corporation,

                        Plaintiff,

         v.                                        CIVIL ACTION NO. 1:18-CV-2684-KHP

SU YAN YE, an individual; and DOES 1-10,
inclusive,

                        Defendants.



                                            Agreement

       I have been informed by counsel that certain documents or information to be disclosed to
me in connection with the matter entitled have been designated as confidential. I have been
informed that any such documents or information labeled “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY” are confidential by Order of the Court.

         I acknowledge that I have read and understand the Protective Order in this action
governing the non-disclosure of Confidential information. I agree that I will not disclose any
Confidential Information to any other person other than as permitted by the Protective Order, and
that at the conclusion of the litigation I will return all disclosed Confidential Information to the
party or attorney from whom I received it or otherwise certify its destruction. I further agree not
to use any such information for any purpose other than this litigation. By acknowledging these
obligations under the Protective Order, I understand that I am submitting myself to the
jurisdiction of the United States District Court for the Southern District of New York for the
purpose of any issue or dispute arising hereunder and that my willful violation of the Protective
Order could subject me to punishment for contempt of Court.

Signature:

Printed Name:

Company & Position:

Dated:
